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 8                               IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   DONNELL COX,

11                  Plaintiff,                     No. CIV S-07-0885 GEB EFB P

12          vs.

13   SACRAMENTO COUNTY POLICE
     DEPARTMENT, et al.,
14
                    Defendants.                    ORDER
15                                        /

16          Plaintiff is a state prisoner prosecuting this civil rights action without counsel. See 42

17   U.S.C. § 1983. Plaintiff requests leave to proceed in forma pauperis. See 28 U.S.C. § 1915.

18   This proceeding was referred to this court by Local Rule 72-302 pursuant to 28 U.S.C.

19   § 636(b)(1).

20          Plaintiff has submitted a declaration that makes the showing required by 28 U.S.C.

21   § 1915(a).

22          Plaintiff must pay the statutory filing fee of $350. See 28 U.S.C. §§ 1914(a), 1915(b)(1).

23   Plaintiff must make monthly payments of 20 percent of the preceding month’s income credited

24   to his prison trust account. All payments shall be forwarded by the appropriate agency to the

25   Clerk of the Court when the amount in plaintiff’s account exceeds $10 until the filing fee is paid

26   in full. 28 U.S.C. § 1915(b)(2).

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 1           The court has reviewed plaintiff’s complaint and, for the limited purposes of § 1915A

 2   screening, finds that it states a cognizable claim against defendants Shirashi and Lannom. See 28

 3   U.S.C. § 1915A.

 4           Plaintiff fails to specify charging allegations against the Sacramento City Police

 5   Department.1 The complaint therefore does not state a cognizable claim against that defendant

 6   and the court will not order service against it.

 7           Plaintiff may proceed forthwith to serve defendants Shirashi and Lannom and pursue his

 8   claims against only those defendants or he may delay serving any defendant and attempt to state

 9   a cognizable claim against defendant Sacramento City Police Department.

10           If plaintiff elects to attempt to amend his complaint to state a cognizable claim against

11   defendant Sacramento City Police Department, he has 30 days so to do. He is not obligated to

12   amend his complaint.

13           If plaintiff elects to proceed forthwith against defendants Shirashi and Lannom, against

14   whom he has stated a cognizable claim for relief, then within 20 days he must return materials

15   for service of process enclosed herewith. In this event the court will construe plaintiff’s election

16   as consent to dismissal of all claims against defendant Sacramento City Police Department

17   without prejudice.

18           Any amended complaint must show the federal court has jurisdiction, the action is

19   brought in the right place and plaintiff is entitled to relief if plaintiff’s allegations are true. It

20   must contain a request for particular relief. Plaintiff must identify as a defendant only persons

21   who personally participated in a substantial way in depriving plaintiff of a federal constitutional

22   right. Johnson v. Duffy, 588 F.2d 740, 743 (9th Cir. 1978) (a person subjects another to the

23   deprivation of a constitutional right if he does an act, participates in another’s act or omits to

24   perform an act he is legally required to do that causes the alleged deprivation).

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              The court notes the defendant is identified in the caption as the Sacramento County
26   Police Department. Plaintiff has written to the court asking the clerk to correct that error.

                                                         2
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 1          In an amended complaint, the allegations must be set forth in numbered paragraphs. Fed.

 2   R. Civ. P. 10(b). Plaintiff may join multiple claims if they are all against a single defendant.

 3   Fed. R. Civ. P. 18(a). If plaintiff has more than one claim based upon separate transactions or

 4   occurrences, the claims must be set forth in separate paragraphs. Fed. R. Civ. P. 10(b).

 5          The federal rules contemplate brevity. See Galbraith v. County of Santa Clara, 307 F.3d

 6   1119, 1125 (9th Cir. 2002) (noting that “nearly all of the circuits have now disapproved any

 7   heightened pleading standard in cases other than those governed by Rule 9(b)”); Fed. R. Civ. P.

 8   84; cf. Rule 9(b) (setting forth rare exceptions to simplified pleading).

 9          Plaintiff’s claims must be set forth in short and plain terms, simply, concisely, and

10   directly. See Swierkiewicz v. Sorema N.A., 534 U.S. 506, 514 (2002) (“Rule 8(a) is the starting

11   point of a simplified pleading system, which was adopted to focus litigation on the merits of a

12   claim.”); Fed. R. Civ. P. 8.

13          If plaintiff’s pleading is deficient on account of an omission or technical defect, the court

14   will not dismiss it without first identifying the problem and giving plaintiff an opportunity to

15   cure it. See Lopez v. Smith, 203 F.3d 1122, 1130-31 (9th Cir. 2000). Plaintiff’s pleading will be

16   construed “liberally” to determine if plaintiff has a claim but it will be dismissed if plaintiff

17   violates the federal rules, once explained, or the court’s plain orders.

18          An amended complaint must be complete in itself without reference to any prior

19   pleading. Local Rule 15-220; see Loux v. Rhay, 375 F.2d 55, 57 (9th Cir. 1967). Once plaintiff

20   files an amended complaint, the original pleading is superseded.

21          By signing a first amended complaint plaintiff certifies he has made reasonable inquiry

22   and has evidentiary support for his allegations and that for violation of this rule the court may

23   impose sanctions sufficient to deter repetition by plaintiff or others. Fed. R. Civ. P. 11.

24          A prisoner may bring no § 1983 action until he has exhausted such administrative

25   remedies as are available to him. 42 U.S.C. § 1997e(a). The requirement is mandatory. Booth

26   v. Churner, 532 U.S. 731, 741 (2001). A California prisoner or parolee may appeal “any

                                                        3
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 1   departmental decision, action, condition, or policy which they can demonstrate as having an

 2   adverse effect upon their welfare.” Cal. Code Regs. tit. 15, §§ 3084.1, et seq. An appeal must

 3   be presented on a CDC form 602 that asks simply that the prisoner “describe the problem” and

 4   “action requested.” Therefore, this court ordinarily will review only claims against prison

 5   officials within the scope of the problem reported in a CDC form 602 or an interview or claims

 6   that were or should have been uncovered in the review promised by the department. Plaintiff is

 7   further admonished that by signing an amended complaint he certifies his claims are warranted

 8   by existing law, including the law that he exhaust administrative remedies, and that for violation

 9   of this rule plaintiff risks dismissal of his entire action, including his claims against defendants

10   Shirashi and Lannom.

11          Accordingly, the court hereby orders that:

12          1. Plaintiff’s request to proceed in forma pauperis is granted.

13          2. Plaintiff must pay the statutory filing fee of $350 for this action. All payments shall

14   be collected and paid in accordance with the notice to the Director of the California Department

15   of Corrections and Rehabilitation filed concurrently herewith.

16          3. Claims against defendant Sacramento City Police Department are dismissed with

17   leave to amend. Within 30 days of service of this order, plaintiff may amend his complaint to

18   attempt to state cognizable claims against these defendants. Plaintiff is not obliged to amend his

19   complaint.

20          4. The allegations in the pleading are sufficient at least to state cognizable claims against

21   defendants Shirashi and Lannom. See 28 U.S.C. § 1915A. With this order the Clerk of the

22   Court shall provide to plaintiff a blank summons, a copy of the pleading filed may 10, 2007, two

23   USM-285 forms and instructions for service of process on defendants Shirashi and Lannom.

24   Within 20 days of service of this order plaintiff may return the attached Notice of Submission of

25   Documents with the completed summons, the completed USM-285 forms, and three copies of

26   the May 10, 2007, complaint. The court will transmit them to the United States Marshal for

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 1   service of process pursuant to Fed. R. Civ. P. 4. Defendants Shirashi and Lannom will be

 2   required to respond to plaintiff’s allegations within the deadlines stated in Fed. R. Civ. P.

 3   12(a)(1). In this event, the court will construe plaintiff’s election to proceed forthwith as consent

 4   to an order dismissing his defective claims against defendant Sacramento City Police

 5   Department without prejudice.

 6   Dated: August 27, 2007.

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10   DONNELL COX,

11                   Plaintiff,                        No. CIV S-07-0885 GEB EFB P

12            vs.

13   SACRAMENTO COUNTY POLICE
     DEPARTMENT, et al.,
14
                     Defendants.                       NOTICE OF SUBMISSION OF DOCUMENTS
15
                                             /
16
              Plaintiff hereby submits the following documents in compliance with the court's order
17
     filed                         :
18
                       1               completed summons form
19
                                       completed forms USM-285
20
                                       copies of the
21                                                      Complaint

22
     Dated:
23

24                                                                  Plaintiff

25

26

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